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    ",,-AO 245B   (Rev. 9/00) Judgment in a Criminal Case
                  Sheet 1

                                             UNITED STATES DISTRICT COU1litJ'. -6 r;; 8; 01
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                   UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                                                                 (For Offenses Committed On or After November ~!:19P)
                                                                                                                                               ffi'
                                       v.
                       SARKIS MOOSHIDIAN (5)                                     Case Number: 12CR4352-JLS
                                                                                  JOHN C. LEMON
                                                                                 Derendant's Attorney
    REGISTRATION NO. 35433298

    o
    THE DEFENDANT:
    18] pleaded guilty to count(s) ONE OF THE INDICTMENT
    o was found guilty on count(s)--------------------------------------------------------------------
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                         Nature of Offense                                                                              Number(s)
18 USC 371                          CONSPIRACY                                                                                             I




            The defendant is sentenced as provided in pages 2 through ____--:.4_____ of this judgment. The sentence is imposed pursuant
    to the Sentencing Reform Act of 1984.
    o The defendant has been found not guilty on count(s)_______________________________________________
    o Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ __ is 0 areDdismissed on the motion of the United States,
    18] Assessment: $100.00 IMPOSED


    Igj Fine ordered waived                  D Forfeiture pursuant to order filed                                     , included herein.
             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
    or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
    defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.


                                                                                  OCTOBER 25, 2013
                                                                                 Date of Imposition of Sentence




                                                                                      N. JANIS L. SAMMARTINO
                                                                                       TED STATES DISTRICT JUDGE


                                                                                                                  12CR4352-JLS
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AO 245D      (Rev. 311 0) Judgment in a Criminal Case for Revocations
             Sheet 2 -- Probation
                                                                                                        Judgment   Page     2    of     4
DEFENDANT: SARKIS MOOSHIDIAN (5)                                                                  II
CASE NUMBER: 12CR4352-JLS
                                                                        PROBATION
The defendant is herebv sentenced to orobation for a term of:
FIVE (5) YEARS

The defendant shall not commit another federal, state, or local crime.
For offonses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision. unless otherwise ordered by court.                                         -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
       Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
       or is a student, as directed by the probation officer. (Check, if applicable.)

o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
        of each month;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
         officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
         criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
         the defendant's compliance with such notification requirement.


                                                                                                                                  12CR4352-JLS
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                   Sheet 4 - Special Conditions
                                                                                                          Judgment-Page   ----1- of _ _4..:..-_ _
       DEFENDANT: SARKIS MOOSHIDIAN (5)                                                              o
       CASE NUMBER: 12CR4352-JLS




                                               SPECIAL CONDITIONS OF SUPERVISION
181 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
o   Seek and maintain full time employment andlor schooling or a combination of both.
o   Resolve all outstanding warrants within                  days.
o   Complete             hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 NotifY the Collections Unit, U.S. Attorney's Office, of any interest in property obtained, directly or indirectly, including any interest
    obtained under any other name, entity, including trust, partnership or corporation, until restitution is paid in fulL

181 NotifY the Collections Unit, U.S. Attorney's Office, before transferring any interest in any property owned directly or indirectly, including
    any interest held or owned under any other name or entity, including trusts, partnerships, or corporations, until restitution is paid in full.


    The Court orders Home Detention 6 months with no electronic or GPS monitoring.




                                                                                                                                       12CR4352-JLS
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AO 245S     Judgment in Criminal Case
            Sheet 5 - Criminal Monetary Penalties

                                                                                                      Judgment - Page _ _4_ _ of         4

 DEFENDANT: SARKIS MOOSHIDIAN (5)                                                              II
 CASE NUMBER: l2CR4352-JLS
                                                           RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_6_6_,5_0_0_.0_0_ _ _ unto the United States of America.




          This sum shall be paid __ immediately.
                                  " as follows:
           Pay restitution in the amount of $65,500.00 to Citigroup, Inc., through the Clerk, U.S. District Court. Payment of
           restitution shall be forthwith. During any period of incarceration the defendant shall pay restitution through the Inmate
           Financial Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is
           greater. The defendant shall pay the restitution during his probation at the rate of $300.00 per month. These payment
           schedules do not foreclose the U.S. from exercising all legal actions, remedies, and process available to it to collect the
           restitution judgment.




      The Court has determined that the defendant        does not     have the ability to pay interest. It is ordered that:

    K        The interest requirement is waived.

             The interest is modified as follows:




                                                                                                     12CR4352-JLS
